Case 2:04-CV-02179-BBD-tmp Document 39 Filed 08/04/05 Page 1 of 3 Page|D 46
FiLED BY __ D.C.

IN THE UNITED sTATES DISTRICT COURT 05 AUG 'l' PH 31 30

  

 

WESTERN DISTRICT OF TENNESSEE ]'HOM \)! GQULD
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WAYMON G. STEWART AND
KATHRYN STEWART,
Plaintiffs,
vs. No. 04-2179-DP

JURY DEMANDED
STRONG BUILT, INC., a Louisiana
Corporation, AND BASS PRO OUTDOOR
WORLD, L.L.C, d/b/a BASS PRO SHOPS
SPORTSMAN WAREHOUSE, a Missouri
Limited Liability Company,

Defendants.

 

FOURTH AMENDED SCHEDULING ORDER

 

Pursuant to the Fourth Motion of Plaintiffs to Amend the Scheduling Order initially
entered on June 29, 2004, and Subsequently amended by an Order of February 25, 2005, May
13, 2005 , and July 6, 2005, the Scheduling Order is hereby amended The Court shall establish

the following dates:

l. Completing all discovery: September 15, 2005
2. Expert witness depositions: September 15, 2005
3. Filing dispositive motions: September 15, 2005

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warn sole 53 and/or 79(3) FHCP on d 59 05

 

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Absent good cause shown, the Scheduled dates set by this Order Will not be modified or

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United States Magistrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CV-02179 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

